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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: _________________________

PETER MULLINAX, an individual,

       Plaintiff,

v.

ELEVATION MORTGAGE LLC, a Colorado limited liability company; and
ALAN REED LETSON, an individual,

      Defendants.
______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________

       Plaintiff Peter Mullinax (“Plaintiff”), through counsel, Lewis Kuhn Swan PC, complains

as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has original federal question jurisdiction pursuant to 28 U.S.C. § 1331

because Plaintiff alleges claims under the Fair Labor Standards Act (the “FLSA”), 29 U.S.C.

§§ 201 et seq., and the Stored Communications Act (the “SCA”), 18 U.S.C. §§ 2701 et seq.

       2.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367 because the state claims are so related to the federal claims that they form part

of the same case or controversy.

       3.      Defendant Elevation Mortgage LLC (“Elevation Mortgage”) is subject to personal

jurisdiction in Colorado because it is organized under the laws of the State of Colorado, conducts

substantial business in this State, and the acts and omissions alleged herein occurred in this State.
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       4.      Defendant Alan Reed Letson (“Mr. Letson”) is subject to personal jurisdiction in

Colorado because, among other things, he implemented the relevant pay practices in this State.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the claims occurred in this District.

                                          THE PARTIES

       6.      Plaintiff is an individual domiciled in Colorado Springs, Colorado. Plaintiff is a

Colorado-licensed mortgage broker.

       7.      Elevation Mortgage is a Colorado limited liability company maintaining its

principal place of business in Colorado Springs, Colorado. Elevation Mortgage is a residential

mortgage broker.

       8.      Mr. Letson is an individual who, upon information and belief, is the sole member

and manager of Elevation Mortgage.

       9.      Mr. Letson is domiciled in the State of Colorado.

       10.     Mr. Letson is, and at all points relevant to this Complaint has been, responsible for

Elevation Mortgage’s pay practices and exercises substantial control over its finances and

operations. As such, he is individually liable for Elevation Mortgage’s illegal pay practices as

alleged herein pursuant to the FLSA.

       11.     Elevation Mortgage and Mr. Letson are collectively referred to as “Defendants.”

                                  GENERAL ALLEGATIONS

       12.     Plaintiff was hired by Defendants as a loan originator on or around February 1,

2019 and separated from his employment on or around March 5, 2020.




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       13.       Plaintiff’s job duties as a loan originator included speaking with prospective

customers, facilitating the interaction between customers and lending institutions, and maintaining

relationships with customers. Plaintiff typically worked from his home office, though he would

also commonly work from Elevation Mortgage’s office. Plaintiff only infrequently engaged in

outside sales.

       14.       From the beginning of Plaintiff’s employment on or about February 1, 2019 until

on or about December 31, 2019, Defendants classified Plaintiff as a 1099 independent contractor

instead of as a W-2 employee.

       15.       Such classification was improper. Among other things, Defendants failed to comply

with the formalities to defeat the presumption of employment.

       16.       Defendants paid Plaintiff on a commission-only basis instead of on a salary or fee

basis. Specifically, Plaintiff was entitled to be paid 70%, and Defendants were entitled to be paid

30%, of revenue from all loans Plaintiff personally closed. Thereafter, Defendant promised to

Plaintiff that Plaintiff’s commission structure would be expanded to include a provision under

which Plaintiff would receive 20%, the specific loan originator would receive 30%, and

Defendants would receive 50% of revenue from all closed loans. Defendant evidenced such

promises by, at least with certain loans, paying such commissions to Plaintiff.

       17.       Like all loan originators, Plaintiff was entitled to receive commissions on any

closed loans prior to his departure from his employment

       18.       During the time he was improperly classified as a 1099 independent contractor,

Plaintiff did not have direct authority to hire and fire employees, could not set rates of pay, and




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was not vested with discretion and independent judgment as to matters of company-wide

significance.

       19.      On or about January 1, 2020, Defendants changed Plaintiff’s classification from

1099 independent contractor to W-2 employee. Upon this change in classification, Plaintiff’s job

duties were not meaningfully altered. During the time he was classified as a W-2 employee,

Plaintiff did not have direct authority to hire and fire employees, could not set rates of pay, and

was not vested with discretion and independent judgment as to matters of company-wide

significance.

       20.      Both when improperly classified as a 1099 independent contractor and when

classified as a W-2 employee, Plaintiff should have been classified as a non-exempt employee

under federal and state wage and hour laws. He was not so classified.

       21.      Plaintiff routinely worked sixty (60) to seventy (70) hours per workweek, and

sometimes more. These workweeks included, among many others, the second week of July 2019

and third week of January 2020. These efforts were beneficial for Defendants as Plaintiff was

Defendants’ top-producing loan originator. Plaintiff commonly worked these extended hours at

the direction of Mr. Letson in furtherance of Elevation Mortgage’s interests. Plaintiff worked such

hours both when classified as a 1099 independent contractor and as a W-2 employee.

       22.      Defendants failed to pay Plaintiff overtime compensation for all hours worked over

forty (40) in any workweek. The unpaid overtime is in the six figures.

       23.      Defendants had in place inadequate timekeeping methods for tracking and

recording the time Plaintiff spent working.




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       24.     Throughout all relevant time periods, Defendants failed to maintain accurate and

sufficient time records and endeavored to maintain opacity in Elevation Mortgage’s pay practices.

       25.     Defendants’ violations of the FLSA and the Colorado Overtime and Minimum Pay

Standards Order, 7 CCR § 1103-1, were not in good faith. As a sophisticated and experienced

business owner in a regulated environment, Mr. Letson was aware of Elevation Mortgage’s legal

obligation to pay overtime compensation and actively sought to avoid doing so.

       26.     On or about March 5, 2020, Defendants terminated Plaintiff shortly after the

unexpected death of Plaintiff’s father (necessitating approximately two weeks out of state).

Defendants referenced pretextual and false grounds as the purported bases for Plaintiff’s

termination. In reality, Defendants simply no longer wished to comply with their contractual

obligations with Plaintiff.

       27.     Defendants did not pay Plaintiff for a loan that had closed in February 2020.

Defendants likewise did not pay Plaintiff for loans in his pipeline.

       28.     After the separation of Plaintiff’s employment, Defendants have repeatedly and

impermissibly used Plaintiff’s personal login credentials to access certain online systems and

databases including, but not limited to, Plaintiff’s personal portal with United Wholesale

Mortgage. Upon information and belief, Defendants have done so to further the financial interests

of Mr. Letson and/or employees of Elevation Mortgage in a matter that is untraceable to them

individually. Plaintiff’s login credentials include passwords for purposes of maintaining the

security of the relevant accounts.




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                                 FIRST CLAIM FOR RELIEF
                              FAIR LABOR STANDARDS ACT
                               (29 U.S.C. §§ 206(a)(1), 207(a)(1))
                                    Against All Defendants

        29.    All preceding paragraphs are incorporated.

        30.    At all relevant times, Elevation Mortgage has been an employer engaged in

interstate commerce within the meaning of the FLSA.

        31.    At all relevant times, on information and belief, Elevation Mortgage has had gross

annual revenues exceeding $500,000.

        32.    At all relevant times, Mr. Letson has been an employer engaged in interstate

commerce within the meaning of the FLSA.

        33.    At all relevant times, Defendants employed Plaintiff within the meaning of the

FLSA.

        34.    When employed by Defendants, Plaintiff frequently worked over forty (40) hours

per workweek and was thus entitled to overtime compensation at a rate of not less than one-and-

one-half his regular rate of pay which, in Plaintiff’s case, is to be calculated based on his

commissions.

        35.    Because Plaintiff did not receive all overtime compensation to which he was

entitled, Defendants violated the FLSA.

        36.    Defendants have failed to make, keep, and preserve records with respect to Plaintiff

sufficient to determine Plaintiff’s wages, hours, and other conditions and practices of employment

in violation of the FLSA.




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       37.     Defendants’ violations of the FLSA were willful within the meaning of 29 U.S.C.

§ 255(a) because, among other things, Defendants were well aware of their legal obligations to

pay overtime compensation.

       38.     Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from

Defendants unpaid overtime compensation, actual and liquidated damages, including Elevation

Mortgage’s share of FICA, FUTA, state unemployment insurance, and any other required

employment taxes, reasonable attorneys’ fees, costs, and disbursements of this action, pursuant to

29 U.S.C. § 216(b).

                              SECOND CLAIM FOR RELIEF
                            STORED COMMUNICATIONS ACT
                                 (18 U.S.C. §§ 2701 et seq.)
                                   Against All Defendants

       39.     All preceding paragraphs are incorporated.

       40.     By accessing Plaintiff’s online accounts, including Plaintiff’s account with United

Wholesale Mortgage, Defendants intentionally and without authorization accessed a facility

through which “electronic communications service” is provided as that term is defined in 18 U.S.C.

§ 2510(15), thus violating the SCA.

       41.     Defendants’ conduct constitutes the accessing of a facility through which electronic

communications service is provided because such systems are services which provide their users,

including Plaintiff, the ability to send or receive electronic communications. See 18 U.S.C. §§

2510(15), 2711(1).

       42.     Such access resulted in Defendants obtaining one or more “electronic

communications” as that term is defined in 18 U.S.C. § 2510(12) while such communications were

in “electronic storage” as that term is defined in 18 U.S.C. § 2510(17).

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          43.   Such material constitutes electronic communications as it involves the “transfer of

signs, signals, writing, images, sounds, data, or intelligence of any nature transmitted in whole or

in party by a wire, radio, electromagnetic, photoelectric or photooptical systems that affects

interstate or foreign commerce[.]” See 18 U.S.C. §§ 2510(12), 2711(1). These electronic

communications were in electronic storage when accessed by Defendants because such

communications were temporarily and immediately stored through the online systems incidental

to the electronic transmission thereof for, among other things, purposes of backup protection of

such communications. See 18 U.S.C. §§ 2510(17), 2711(1).

          44.   Plaintiff has suffered damages as a result of Defendants’ violation of the SCA in an

amount to be proven at trial for which Defendants are liable.

          45.   As a subscriber or other person aggrieved by Defendants’ knowing and intentional

violation of the SCA, Plaintiff is entitled to recover from Defendants actual damages or a sum not

less than $1,000, punitive damages, attorneys’ fees, and costs. See 18 U.S.C. §§ 2707(a)-(c).

                        THIRD CLAIM FOR RELIEF
           COLORADO OVERTIME AND MINIMUM PAY STANDARDS ORDER
                              (7 CCR § 1103-1)
                          Against Elevation Mortgage

          46.   All preceding paragraphs are incorporated.

          47.   At all relevant times, Plaintiff was employed by Elevation Mortgage within the

meaning of the Colorado Overtime and Minimum Pay Standards Order (the “COMPS Order”).

          48.   Elevation Mortgage is covered under the COMPS Order as it is a retail and service

entity.

          49.   Elevation Mortgage violated the COMPS Order by failing to pay Plaintiff for all

overtime hours at the required rate as prescribed by the COMPS Order.

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       50.      Plaintiff is entitled to recover from Elevation Mortgage proper compensation for

all hours worked (including overtime compensation at the appropriate premium for hours worked

over forty (40) in a workweek or twelve (12) in a work day), any statutory penalties, including

Elevation Mortgage’s share of FICA, FUTA, state unemployment insurance, and any other

required employment taxes, reasonable attorneys’ fees, costs, and disbursements of this action,

pursuant to the COMPS Order.

                               FOURTH CLAIM FOR RELIEF
                                 BREACH OF CONTRACT
                                   Against All Defendants

       51.      All preceding paragraphs are incorporated.

       52.      Defendants’ offers to employ Plaintiff, both prior to him beginning his work at

Elevation Mortgage and when his pay structure changed on or about January 1, 2020, created a

binding contract between Plaintiff and Defendants.

       53.      Defendants breached these agreements by failing to pay Plaintiff according to the

terms of these contractual relationships by, among other things, failing to pay Plaintiff for all

closed loans.

       54.      Plaintiff performed, or is excused from performing, all of his obligations under

those contracts.

       55.      Plaintiff has suffered damages as a result of Defendants’ breach of contracts in an

amount to be proven at trial for which Defendants are liable.

                                 FIFTH CLAIM FOR RELIEF
                                  PROMISSORY ESTOPPEL
                                    Against All Defendants

       56.      All preceding paragraphs are incorporated.


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         57.    Defendants promised to pay Plaintiff for all closed loans, including for those loans

in Plaintiff’s pipeline.

         58.    Plaintiff reasonably relied on these promises by, among other things, declining to

obtain more financially lucrative employment and by continuing to labor for Defendants.

         59.    Defendants failed to pay Plaintiff for all closed loans.

         60.    Defendants’ promises must be enforced to prevent injustice to Plaintiff.

                                  SIXTH CLAIM FOR RELIEF
                                    UNJUST ENRICHMENT
                                     Against All Defendants

         61.    All preceding paragraphs are incorporated.

         62.    Plaintiff conferred a benefit on Defendants, namely by providing Defendants with

many hours of his (now known to be) underpaid labor and by being denied commissions to which

he was entitled.

         63.    Allowing Defendants to retain these benefits without proper payment therefor

would serve to unjustly enrich Defendants.

                               SEVENTH CLAIM FOR RELIEF
                                      CIVIL THEFT
                                   Against All Defendants

         64.    All preceding paragraphs are incorporated.

         65.    Defendants knowingly, intentionally, and improperly took and/or retained control

over Plaintiff’s confidential and proprietary information, namely his personal login credentials.

         66.    Defendants knowingly, intentionally, and improperly stole Plaintiff’s property,

namely the earned, vested, and determinable funds that Plaintiff had earned by closing certain

loans.


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       67.     Defendants did so without Plaintiff’s express or implied authorization.

       68.     Defendants’ actions were intended to, and in fact did, deprive Plaintiff of exclusive

use of his intellectually property. Moreover, Defendants’ actions were intended to, and in fact did,

deprive Plaintiff of funds he had earned.

       69.     By their theft and improper use of Plaintiff’s confidential and proprietary

information, and by their theft of Plaintiff’s funds, Defendants have damaged Plaintiff in an

amount to be established at trial for which they are liable.

       70.     Pursuant to Colo. Rev. Stat. § 18-4-405, Plaintiff is entitled to treble damages,

attorneys’ fees, and costs.

                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiff prays for the following relief:

   a) Judgment in his favor on his claims for relief;

   b) A declaratory judgment that the practices complained of herein are unlawful under the

       FLSA and COMPS Order;

   c) An injunction requiring Defendants to cease their unlawful practices under, and to comply

       with, the COMPS Order;

   d) An award of overtime compensation due under the FLSA and COMPS Order;

   e) An award of liquidated and/or punitive damages as a result of Defendants’ willful failure

       to properly compensate Plaintiff pursuant to 29 U.S.C. § 216;

   f) An award of damages representing Elevation Mortgage’s share of FICA, FUTA, state

       unemployment insurance, and any other required employment taxes;




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   g) Actual damages or a sum not less than $1,000, punitive damages, attorneys’ fees, and costs

      under the SCA;

   h) Compensatory and equitable damages for Plaintiff’s breach of contract, promissory

      estoppel, unjust enrichment, and civil theft claims;

   i) Treble damages pursuant to Colo. Rev. Stat. § 18-4-405;

   j) An award of costs and expenses of this action together with reasonable attorneys’ and

      expert witness fees;

   k) An award of pre-judgment and post-judgment interest; and

   l) Such other and further relief as this Court deems just and proper.

                                DEMAND FOR JURY TRIAL

      Plaintiff hereby demands a trial by jury on all issues so triable.

      Respectfully submitted this 21st day of April, 2020.

                                             /s/ Andrew E. Swan
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